JS 44 (Rev. 09/19)

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

. (a) PLAINTIFFS
yg RAINE

Shakenah Johnson Settler/Grantor

(b) County of Residence of First Listed Plaintiff

merica and Estate of JOHNSON and

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

NOTE:

Attorneys (If Knowr

 

DEFENDANTS

PHILADELPHIA POLICE DEPARTMENT
JOHN DOE, JANE DOE et. alii
County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

)

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

(1 U.S. Government O 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O 1 OC 1 Incorporated or Principal Place o4 4
of Business In This State
O 2 US. Government 0 4 Diversity Citizen of Another State (K 2 QO 2 Incorporated and Principal Place go5 05
Defendant (Indicate Citizenship of Parties in Item IIl) of Business In Another State
Citizen or Subject of a O 3 O 3. Foreign Nation o6 O6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
© 120 Marine © 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
C130 Miller Act O 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability 0 367 Health Care/ © 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 0 430 Banks and Banking
© 151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
© 152 Recovery of Defaulted Liability C1 368 Asbestos Personal © 835 Patent - Abbreviated ©) 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application |0 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability O 840 Trademark Corrupt Organizations
C1 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY © 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle O 370 Other Fraud 0 710 Fair Labor Standards O 861 HIA (1395ff) (15 USC 1681 or 1692)
© 160 Stockholders” Suits 0) 355 Motor Vehicle O 371 Truth in Lending Act 0 862 Black Lung (923) ©) 485 Telephone Consumer
O 190 Other Contract Product Liability O 380 Other Personal 0 720 Labor/Management O 863 DIWC/DIWW (405(g)) Protection Act
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 0 490 Cable/Sat TV
O 196 Franchise Injury 0) 385 Property Damage 0 740 Railway Labor Act 0 865 RSI (405(g)) 0 850 Securities/Commodities/
0 362 Personal Injury - Product Liability 0 751 Family and Medical Exchange
Medical Malpractice Leave Act © 890 Other Statutory Actions
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 790 Other Labor Litigation FEDERAL TAX SUITS 0 891 Agricultural Acts
© 210 Land Condemnation O& 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 0 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
0 220 Foreclosure 0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) 0 895 Freedom of Information
O 230 Rent Lease & Ejectment 0 442 Employment 0 510 Motions to Vacate O 871 IRS—Third Party Act
© 240 Torts to Land C1 443 Housing/ Sentence 26 USC 7609 © 896 Arbitration

0 245 Tort Product Liability
© 290 All Other Real Property

 

Accommodations

0 445 Amer. w/Disabilities -
Employment

0 446 Amer. w/Disabilities -
Other

0 448 Education

 

O 530 General

 

0 535 Death Penalty

IMMIGRATION

 

Other:
1 540 Mandamus & Other
1 550 Civil Rights
C1 555 Prison Condition
01 560 Civil Detainee -
Conditions of
Confinement

 

C1 462 Naturalization Application

01 465 Other Immigration
Actions

 

© 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

O) 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X” in One Box Only)

O11 Original 2K2 Removed from O 3 Remanded from O 4 Reinstatedor O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which
18 USC Chapter 77 1583, 158

Brief description of cause: a oo
Brutality, violation of civil rights, and constitutional violations

ou are filin
18 usc 1

9, 22 USC Chapter

78

& 50” not cite jurisdictional statutes unless diversity):

 

 

 

 

 

VII. REQUESTED IN (1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: M Yes No
VIII. RELATED CASE(S)
IF ANY (Rembelahatang JUDGE Paul S. Diamond DOCKET NUMBER 21-5281
DATE ] eee OF RECORD
01/03/2.022 |
FOR OFFICE USE ONLY ;
RECEIPT # AMOUNT APP’ FP JUDGE MAG. JUDGE
Case 2:22-cv-00121-MAK Document 1 Filed 01/04/22 Page 2 of 20

Registrant for Registered Secutity(s)

on behalf of the Settler/Trustee JOHNSON

c/o 1246 Wagner Avenue
Pennsylvania Republic- USA- 19141

 

TO: THE CLERK OF COURT:

Case no. 21-5281

 

ATTESTATION OF CERTIFICATE OF SERVICE

I, hereby certify and have caused a true and correct copy of the attached Affidavit of Facts to the Complaint

Respondent(s) and Criminal Complaint and Order, Verification and Attestation of Certificate of Service as

served on the following by first class United States mail, postage pre-paid on the sent date as indicated

below:

ESTATE of JOHNSON
shakenah johnson

1246 Wagner Avenue
Philadelphia Pa. 19141

JOSH SHAPIRO d/b/a

Attorney General State of Pennsylvania et. al.

16" Floor Strawberry Square
Harrisburg Pennsylvania 17120
Claimant/Plaintiff

THE OFFICE OF THE SHERIFF
Attn: General Counsel

c/o 100 South Broad Street, 5? Floor
Philadelphia County, PA 19110

Danelle Outlaw, and Outlaw, Danelle
d/b/a COMMISSIONER for
Philadelphia Police Department
750 Race Street
Philadelphia Pennsylvania 19106
Defendant(s) /Respondent(s)

Date Ol | o/ / 0 7.

Rochelle Bilal, and Bilal, Rochelle

dba SHERIFF OF Philadelphia
Attn: Rochelle Bilal

c/o 100 South Broad Street, 5t Floor
Philadelphia, PA 19110

Blanche Carney and Carney, Blanche
d/b/a COMMISSIONER for
Philadelphia Bureau of Prisons
7901 State Road
Philadelphia Pennsylvania 19136

/s/: eek Registrant
Shenae oP spor Aas for JOHNSON
Case 2:22-cv-00121-MAK Document1 Filed 01/04/22 Page 3 of 20

Registrant for Registered Secutity(s)

on behalf of the Settler/Trustee JOHNSON Case no. 21-5281
c/o 1246 Wagner Avenue
Pennsylvania Republic- USA- 19141

 

TO: THE CLERK OF COURT

VERIFICATION

 

I, hereby certify, and have caused the above Certificate of Service et. alii, to be entered upon this court of

equity, and attest to the accutacy of its content, and request(s):

Date: 0//01/2022— /s/ a . LS. Settler/Trustee
 

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OOmANI DAB WNHER OW WAN TD UBWNHHR OW WAN DU PWN PO

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
601 Market Street Second Floor, Federal Courthouse Room 2609
Philadelphia Pennsylvania 19106
Reference: Honorable Paul S. Diamond
UNITED STATES OF AMERICA
ESTATE OF JOHNSON &
shakenah johnson
In propria persona
Josh Shapiro, Attorney General and
OFFICE OF THE ATTORNEY

Plaintiff/ Claimant
Vv. Case no. 21-5281

LARRY KRASHNER, DISTRICT ATTORNEY and
OFFICE OF THE DISTRICT ATTORNEY et. alii.

ROCHELLE BILAL, SHERIFF and
OFFICE OF THE SHERIFF et. alii.
Trial by Jury
BLANCHE CARNEY, COMMISSIONER and
OFFICE OF BUREAU OF PRISONS A CORRECTIONAL FACILITY et. alu.

DANIELLE OUTLAW, COMMISSIONER and
OFFICE OF THE COMMISSIONER,
PPHILADELHIA POLICE DEPARTMENT et. alii.
JANE DOE et. alii

JOHN DOE et. alit

DEFENDANT(s)/RESPONDENT(s)

 

 

AFFIDAVIT OF FACTS IN THE COMPLAINT

To the Federal District Clerk, the following:

Pursuant to: Justice for All

Introduction and Brief History of what lead to the Brutality by Police and other Law
enforcement Officers
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enforcement Officers

On or about November 17" 2021, I shakenah, trustee/grantor for ESTATE OF JOHNSON,
who joutney to 91 North 48" (Youth Study Center) in which I have tried to teach out to
Maurice Stovall, Ms. Hayes or, and Ms. Colleen who were agents for the YOUTH STUDY
CENTER which is a Juvenile Facility, were I inquire about information pertaining to my Son’s,
these two people Ms. Colleen, and Ms. Hayes refuse to give me any information, then Colleen
gave me some documents, however none of the documents made any sense, then I ask to
speak with Maurice Stovall, who denied to come out, and talk to me, I notice Ms. Colleen in
the back lobby talking to a parent then I went to the back lobby, and said, hello Ms. Colleen
remember me Ms. Johnson, and she said yes I said ok, I am here to talk to Maurice Stovall, or
who is in charge, can you get Maurice please she stated she can’t do that I asked WHY ?, I said
to Colleen, I have been here to many times and haven’t gotten any correct information in
regards to who is the Judge on the case correct, Ms. Colleen said she can’t, and I walked to
the back and I ask why one can’t I go to the back with you she said you are not allowed to go
to the door when my son was placed on an ankle monitor officers who say mam you can’t go
back there I ask why they stated you ate not allowed so Ms. Colleen went thru the door in
which the officers guarding, so I said excuse me I reached to turn the knob it was locked the

officer then pushed me, and I then told him not to touch me again.

JURISDICTION

The Non-Statutory Abatement challenged jurisdictional facts necessary to place or bring
Petitioner within the inferior court’s venue or jurisdiction. Petitioner is natural born, free, and
soveteign. Petitioner is an aboriginal in her own land with full religious tmmunity as cited by
Supreme Court Murdock vs. Pennsylvania Case Law 319 U.S. 105 as In propria persona neutral
“foreign state” holding full, diplomatic, immunity as an original sovereign Female in this Land

as in Nunc Pro Tune there for the inferior court lack subject matter jurisdiction because of

 
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the defendant(s) unconstitutional actions all others by the inferior court is void ab initio, and
now the inferior court (COUNTY COURT) lack subject matter, and has no lawful authority
to act or proceed persona jutisdiction therefore permanent jurisdiction is granted to the

Federal District thought out the case existence.

JURISDICTIONAL FACTS AND CASE LAW

“Jurisdiction Must Be Properly Established Before Inferior Court Can Proceed”

When the jurisdiction of any tribunal is challenged, that tribunal beats the burden of proving
jurisdictions overt both person and subject matter. In a court of limited jurisdiction, whenever
a party denies that the court has subject-matter jurisdiction, it becomes the duty and the burden
of the party claiming that the court has subject-matter jurisdiction to provide evidence, Bindell
v. City of Harvey, 212 IL App.3d 1042, 571 N.E.2d 1017 (1st Dist. 1991) Once jurisdiction is
challenged it must be proven. ”Hagins vs Levine 415 US 533 note 3 (1974) Where the question
of jurisdiction in the court over the person, the subject matter, or the place where the crime
was committed can be raised, in any stage of a criminal proceeding; it is never presumed, but
must always be proved; and it is never waived by the defendant. " U.S. vs. Rogers, District
Court Ark., 23 Fed 658 1855Title 5 U.S.C. § 556 states as follows: “When jurisdiction is
challenged the burden of proof is on the government.” The burden of proving jurisdiction
rests upon the patty asserting it."Loos v. American Energy Savers, Inc., 168 Ill App.3d 558,
522 N.E.2d 841 (1988) "Where jurisdiction is contested, the burden of establishing it rests
upon the plaintiff." One may challenge the court’s subject matter jurisdiction at any time”;
Troy Gold Indus., Ltd. v. Occupational Safety & Health Appeals Bd., 187 Cal. App. 3d 379,
385 n.3, 231 Cal. Rptr. 861, 864 n.3 (1986) (lack of subject matter jurisdiction may be taised
for the first time on appeal). Jurisdiction once challenged cannot be assumed and must be
decided. "Maine v. Thiboutot 100 S. Ct 2502 Therefote, it is necessary that their cord present
the fact establishing the jurisdiction of the tribunal. "Lowe vs.Alexander15C 296; People vs.

Boatd of Delegates of S.F. Fite Department. 14 C 479 Once challenged, jurisdiction cannot
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be assumed, it must be proved to exist.”Stuck v. Medical Examiners, 94 CA2d 751.211 P2s
389 A judge's allegation that he has subject-matter jurisdiction is only an allegation (Lombard
v. Elmore, 134 Ill App.3d 898, 480 N.E.2d 1329 (1st Dist. 1985);Hill v. Daily, 28 Ill App.3d
202, 204, 328 N.E.2d 142 (1975)); Itis clearly observable in the varied courts that the standard
practice in Public Policy is that establishment of jurisdiction on the record is required.
Limitation On Court Action It is equally cleat that failure to provide proof for the record of
jurisdiction over person and subject matter dispossesses a ttibunal of ability to adjudicate: If
any tribunal finds absence of proof of jurisdiction over person and subject matter, the case
must be dismissed. "Louisville RR v.Motley, 211U.S.149,29S. Ct. 42,that did not happen."’The
law tequites proof of jurisdiction to appear on the record of the administrative agency and all
administrative proceedings. "Hagans vs Lavine 415 U.S. 533 No sanction can be imposed
absent proof of jurisdiction."Standard v. Olesen 74 S. Ct 768An aggrieved party may petition
the supreme court for relief in the nature of prohibition when an inferior case has allegedly
exceeded its jurisdiction. Solliday v. District Court, 135 Colo. 489, 313 P.2d 1000 (1957).An
order in the nature of prohibition should be entertained whete it is apparent that no judgment
in favor of the plaintiff in the court below could be affirmed for want of jurisdiction over the
person of the defendant. Carlson v. District Court, 116 Colo. 330, 180 P.2d 525 (1947); Kellner
v. District Court, 127 Colo. 320, 256 P.2d 887 (1953).Relief in the nature of prohibition in an
otiginal proceeding is proper whete a trial court is proceeding, or threatens to proceed, without
jutisdiction. Andrews v. Lull, 139 Colo. 536, 341 P.2d 475 (1959).Ordinarily, relief only lies to
ptevent the lower court from proceeding further with the cause, but whete this would not give
the relator the relief to which he is entitled, it may direct that all proceedings had in excess of
jurisdiction be quashed and the order entered which should have been. People ex rel. Lackey
v. District Court, 30 Colo. 123, 69 P. 597 (1902). Prohibition is applicable to restrain a trial
coutt from proceeding with a criminal trial when it has no jurisdiction over the subject matter.
Bustamante v. District Court, 138 Colo. 97, 329 P.2d 1013 (1958). Any decisions a judge

makes in a court that has not properly established jurisdiction will be mandatorily overturned:
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Void judgments, Void judgments must be dismissed, regardless of timeliness if jurisdiction is
deficient. Mitchell v. Kitsap County 59 Wash.App. 177, 180-81, 797 P.2d 516 (1990) Collateral
challenge to jurisdiction of pro-tem judge granting summaty judgment properly raised on
appeal. Allied Fidelity Ins.
Co. v. Ruth, 57 Wash. App. 783, 790, 790 P.2d 206 (1990); Jaffe and Asher v. Van Brunt, 158
F.R.D.278 (S.D.N.Y. 1994) Res judicata does not apply to a void judgment. Allcock v. Allcock
437 NE.2d 392 (Ill_App.Dist.3 1982) When tule providing relief from void judgment is
applicable, relief is mandatory and not discretionary. In te Marriage of Markowski, 50
Wash.App. 633, 635, 749 P.2d 745 (1988); Brickum Inv. Co. v. Vernham Corp., 46 Wash.App.
517, 520, 731 p.2d 533 (1987); Orner v. Shalala, 30 F.3d 1307
(Colo.1994).

Continuation from the Brief

NOW, THE BRIEF IN THE BEGINNING OF CRIMES AGAINST HUMANITY

Fact: I left the Young Study Center in pursuit of information pertaining to my two son’s
hoping to get answers from the District Attorney’s Office, and speak to Larry Krasner praying
to get answers, as to who was the prosecutor in the case of Saftyyy Muahd Johnson, and
Benjamin Tylil Fleming now upon attiving at the building behind the information counter at
the District Attorney’s Office was a Lady, and a male by her side at the counter there was a
man waiting to be seen, and the man by her side was a lady I then waited for either person to

be finished the man was finished first who was Caucasian.

Fact: the gentlemen behind the counter picks up the desk phone, it rang two times he then
puts his arm up while on the phone as if he was talking to someone in the lobby behind me
he then points to me as if he’s asking how can he help me I then say I am here to see Larry

Krasner he points one finger as if now he saying hold on he hangs up the phone picks it back

 
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up, and dial an extension while whispering now on the phone now, I could not heat what was

being said, before hanging up the phone the male stated go to the 11 Floor.

Fact: So the only thing I heard was go to 11" floor, so that is were I went, at that time the lady
who he was setvicing someone else was waiting to go up the escalators so I notice the lady
gone thru the door I followed , upon following the male from the counter he came over, and
tried to block, after saying go to the 11" Floor he then stop me from entering I then stated
you said go to the 11" floor, and he said yes but you just can’t go at this time I am concerned
and what are they hiding, so I asked so how did the white lady go thru, but you what to stop
me, so I then manage to squeeze thru with another person entering the elevator as well.

Fact: I then told Eric, a relative, and a neighbor who was accompanying me at the time the
male said you are not allowed, so he stopped us from getting to the second Floor at the top
of the escalator me, and Eric comes into contact with two big men Caucasian men which one
puts his hands on me who were in plain clothes, I continue to proceed to knocking at the
office door with the men following me & Eric. I began to call out Larry Krasner ate you there
Latry the Caucasian male states mam you have to leave, or I will call the Police I stated call
the police I didn’t harm anyone so now that I’m not interrupting by knocking on office door,
people began to come out the office upon me finding the location to the elevator where you
now have 2 big men (Caucasian Male) then two females(1 Cooper color American) and (1
Caucasian Female) they followed me to the elevator the Caucasian female tried to take my
Gucci bag with my documents (papers), so I ask who ate you to the tall blue eyed male with
tan color hair he states he’s going to call the police so now I said call them I didn’t harm

anyone.

Fact: I am hete to see District Attorney Larry Krasner, at this point they are still following me,
and says you have to leave or I’m going to lock you up I said I need answers he then states to

the (Caucasian female) who never gave me her name, or badge number she was short with red

 
 

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hait he said get the handcuffs next thing he grab my arm at this time I am screaming from
pain of them twisting my atm I said let me go, you ate not the police you people are in plain

clothes now you have all four treating me like a harden criminal.

Fact: Now they proceeded to be brutal, and aggressive as they had me on the floor trying to
get the handcuffs on me I’m screaming I can’t breathe the to the Caucasian male he had his
knee in my back while the others was holding me down pressing the back of my neck for
minutes, smashing my face to the floor where the Caucasian lady when to get the hand cuff’s
they got me cuffed, so now they are trying to pick me up to put me in a room so tefuse to get
up at this point I do not trust them, now I said I prefer to sit in the hallway where people can
see what’s going on, so the Caucasian female said, if you tell me the problem I might can help
you, that never happen her giving me help, all they had to do was contact a DA assistant or

someone from the DA’s Office to talk too.

Fact: So I said to the Lady my two sons got atrested for a search warrant that was not for
them but for another young man that do not reside at my house, translation wrong house,
wtong people so why were they arrested?, the police have knowingly and willingly committed
a ctime which was an unconstitutional practice (unlawful search and seizure Article 8
Pennsylvania Constitution) the address in question that they broke into was 1246 Wagner
Avenue Philadelphia Pa. 19141 respectfully and with no warrant, at this time I started asking
her questions requiring cettain documents in which I have not receive so she ask what’s your
son’s name, and date of Birth, in which I gave to her, meanwhile she says let me go see what

is going On.

Fact: at this time I tried getting off the floor again to go ina room they have been trying to
get me into but, I refuse again so they began to get angty they pick me up, and took me in a

large conference toom so now while in this room with the 2 females and the 2 male people at

 
 

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this time they still haven’t read me my tights nor what was I being detained for, and again they
ask me what am I here fot, and who ate you people are you from the Sheriff Department,
show me some credentials or ID or something, I said I hope you have your foreign registration

statement so they all started laughing, I began to get out the chair with my hand cuffs and;

Fact: As I proceed to get up to catch my breath, and stretch at that time I got pushed back
down so after being in the conference room approximately 30 to 40 minutes they grab me
holding me taking me took me to the elevator and walk me down, and out to the police officers
who’s van was outside waiting for me upon coming out I see Eric my neighbor over on the
corner so the officers are searching my person they remove all items out my black leather
jacket pockets meanwhile I’m crying, and shouting Eric call my kids one of the officers ask do
you want me to give the guy your bag I stated yes you can give it to Eric they put me in the
back of the police wagon.
THE BEGINNING OF THE BRUTALITY

Fact: I arrived at 8" & Race Streets, when I got there the officers were handling me with
extreme roughness trying to get my leather jacket off with the cuffs on so I stated you have to
take the cuff’s off first they the put the cuff’s back on then they took me all the way in the 2"¢
cell from the end I felt notice my menstrual was on where I had on a light mint color two
piece sweats top the blood seeped thru my clothes, and I said to them I need help I called for
an officer no response the other people in other cells the officers allowed to get a call, calling
a person for finger printing when they felt like it, at this time they the Police have not told me

what I was Arrested for, nor have they read me my tights nor let me make a phone call.

Fact: I was lock up with men on the same cell block picking up the trash from the inmates
which consist of 2 slices of bread, and water ot trash from sanitary upon the men arriving on

the block I would ask for a water or to tell the person or officer working up front to come

 
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help me the men ignored me every time I would notice, and hear the officer on the block neat

me.

CONTACT WITH OTHER INMATES AT THE 8™ & RACE STREETS POLICE
ADMINISTRATION HEADQUARTERS
Fact: The Police brutality, and harassment continues, so now the Female Office who gives no
name come to get me to be processed by (3 Officers) after taking me to the Front of the
administration Building Headquarters and on the screen they ask me to step up to the screen
with a picture of a WHITE OLDER MAN) so I stated that’s not my name ot my picture at
that time a CAUCASIAN MALE HEAVY SET with blue eyes who’s finger I bit earlier push
me and said we not going to play put your fingers, I stated that’s not my picture so now they
ate MAD and showing extreme and then processed to put the cuffs on me hatd so now ’m
asking them to loosen the cuffs they ate too tight and then they grab my arms to rough so
they took me back to the cell I’m saying to the others inmates please if you all get out my name
is Shakenah Johnson I reside at 1246 Wagner Avenue Philadelphia Pa. 19141, I go by the name
Kean Bean the crab queen please tell someone what these officers ate doing because it is not
tight after that episode they put me back in the cell hand cuff me to the bars, and left me I
now ask the other inmates ate they handcuffed to the bars of the cell which I already knew

they weren’t just for the record.

Fact: after walking back pass from them they the PHILADELPHIA POLICE wete trying to
process me under another name (PERSON) of their choosing one inmate said no I said why
they have me handcuff, I then shouted lord help me this people are acting like animals
brutalizing me like a SLAVE on a Plantation n I began to cry and ask GOD for forgiveness,
and help me to get away from these demonic officers who I cause no harm, or danger so now
I’m cuffed to the bars which means I can’t sit down nor move atound so houts go by 2 male,

and two females come with a cell phone to get my finger prints upon grabbing my fingers

 
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trying to place them on the phone with me still handcuff to the bars I asked what are you all

doing please let me go you all are hurting me.

Fact: At this point my hands was with a close fist whereas two Officers were tying one
hand, and the other two on the other somehow the left cuff came off so now my tight hand
is still cuffed to the cell which came off at this time my tight arm is still cuffed to the cell bar
where the (BLACK FEMALE OFFICER) began pulling the braids, banging my head against
the cell still handcuffed, here I am again with these Philadelphia Police Brutalizing me again
and again, I said to myself I am wondering am I going to be another Sandra Blain, no one
knows were I am sense they were trying to process me under another name so there will be

no trace of my existence.

Whereas they the PHILADELPHIA POLICE began another offensive behavior spraying
disinfect spray in my mouth, face & eyes it was in a tall white can it cause me to start
breathing fast and spit out my mouth the spray the WHITE MALE OFFICER with blue
eyes took his close fist and punch me five (5) times in my left eye and on the forth punch I
was able to bite his finger upon biting the officer 3 more officers 2 male one being tall
named Sheriff Carson a Black Male with glasses another one tall light brown skin who I
remember prior to seeing in the room whete you see a Judge on the screen and she give you
your charges and he the writes up the paper work, at that time the two officers and Sheriff
Carson stood there while the other officers opened the gate and they began choking,

punching, kneeing and scratching

MORE ABUSE AND FACTS OF THE BRUTAL ASSAULT OF MS. JOHNSON
PERPETRATED BY THE PHILADELPHIA POLICE DEPARTMENT AND SHERIFF
DEPARTMENT ALIKE

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Fact: Me they then picked me off the floor took the right handcuff off and locked me back in
the cell I’m sitting there crying with blood all over my clothes my braids snatched from the
roots my head pounding my eye black and puffed scratches on my arms, neck lips busted my
left wrist and thumb my tight wrist which have no filling and was busted I felt like I had no
life in my body so now I removed the bloodied clothes showing the officers thru the gate
saying I need help, I dropped my clothes outside the cell when the female cop walked thru the

block she kicked my clothes and braids that were snatched out of reach so now.

Fact: Whereas, as I stand naked brutalized by the Police Officer who all conspired in this
brutality to KILL me and make it look like an accident or blame it on other inmates I (surmise)
through it all I still calling for help blood running down my face with nothing own
(CLOTHES) Mensttual bleeding profusely still calling for help but yet no response houts pass
when female Officer come with a white plastic jumpsuit so I asked can I have my clothing she
said it has blood all over it I said its fine I want my clothing in which I came in with so she
kick my clothes I got dressed they took me out I ask where are you taking me the officer stated
to get checked out I said I don’t want to get checked out I am now totally afraid of these evil
people if this is standard Police Practice then this is a sad day in the City Philadelphia, the saga
of abuse continues and harassment continues.

THE JEFFERSON HOSPITAL VISIT FOR INJURIES SUBTAIN BY THE BRUTALLY

OF THE PHILADELPHIA POLICE DEPARTMENT

Fact: Whereas I don’t know there next move may not be a good one, so as Pm looking out
the little window in the middle front of the Police Van I notice we arrive at Jefferson Hospital
going thru an area that public persons don’t enter upon pulling me out the Police Van the
Officers had put on the cleat face shields which they never had on before coming to the
Hospital (EFFERSON) a CAUCASIAN MALE OFFICER with blue eyes wearing glasses
tall come in flashing a light ask me would I like to be seen, I said to him I didn’t do anything

wrong, I just want to go home so the officer said do you want to be seen I said no I refuse

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treatment not knowing that the officers were now taking me to the Detention Center on State
Road once again never formerly charged to best of my knowledge now at this time I realize I
need to get seen, and before they take me out of the room I said I need to be seen they said
NO it’s too late yet we ate still at the Jefferson Hospital they said you are going to jail,

NOW HEADED TO THE PHILADELPHIA DETENTION CENTER

Fact: whereas they the POLICE OFFICERS proceeded to take me back to the police van
upon after getting in the van I arrived in the back of a building that said do not occupied due
to hazard conditions the officers stopped at a window the driver takes his gun off I said are
you all ready to KILL ME, in which I think that was there plan all long as it appeats they
WERE thinking about it the officers (although speculative there actions wartant the
Statement) so the other officer in the van gets out the driver passes the gun the gun goes to
the window he then comes back, then we drive thru another gate where they take me out |
enter the building to the right is an office where I can see two Black Female Officers one come

out the officer gives her paperwork she ask me to step inside this room across from where

Fact: I fitst seen this woman and the other female at the 8" & Race now upon waiting she take
me thru another set of doors where a chair is, and she ask me to sit, and wait while she gather
stuff so I can take a showet, she then ask if I wanted her to wash my clothes I said NO, thank
you I’ll wash them myself not realizing that they wanted to destroy the evidence of their
brutality, at that point she said sute so it will be ready & clean for you when you finish. She
then took me too the shower gave me a towel soap and tag asking me to bend over, and cough
when I’m done showeting put everything in a bag and put on this sweatshirt and jumpsuit,
now after getting out the shower she had me sign some papers for my things, after that she
then put me in another room inside the area from where I was first brought in, and tell me I
must take the rest of my braids out I then ask for scissors and a comb.

Continued Abuse

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The female prison officer gives me the scissors and comb I took what was left from 8" and
Race Streets the Police Administration Building which was snatched out, She now takes me
to the cell block where there are other females the correction officers are talking to the other
inmates with humiliating words cussing and continued verbal abuse for no teason, and treating
me and others (INMATES) with no respect they would then open the cells to allow the
inmates out for which they say is an hour however it is whatever time they say I would grab
my things, and head to the top where the C/O brought me in they would stop me, and send
me back to the cell so they came, and took me to a different side 207 which is considered to
be the crazy part of the prison where they label as a mental prisoner upon atriving there I later
found out I thete in a locked room with a big turn key with a black eye mouth busted wrist
busted with puss coming out developing an infection, now a nurse came with the C/O to take

my temperature and ask me some questions.

Fact: I said my head was heavy which my eye was thriving and I was cold and in a lot of pain
I asked for some Tylenol she said she will document this procedure, I ask when will you bring
it back noon time came next day, at this time I can see it is a new day when Correction Officer
Beckam come in she gives me a cold pack then, now comes the first time I ate something in
days, since the day I got arrested I ate the cold pack (FOOD) and now I’m still waiting for the
Tylenol for this is major pain in my head, so now the C/O, and nutse comes she says Ms
Johnson here is your Tylenol in a little white paper cup I looked at the pill its PINK, I said
this is not Tylenol the nurse said you ask for Tylenol you want it I said Tylenol is not pink you
are trying to (POISON ME) the C/O now leaned, and holding the on the door knob stumps
her feet, and with an attitude says its Tylenol you going to take it or not so because my head
was hurting I was praying even if it’s not Tylenol please give me something to take for this
pain so I put my left hand out put the pill in my mouth, she said lift up your tongue so we can
see they observed the pill was taken after that they left after they left I laid down and fell asleep

I woke up not feeling myself so a Chinese looking Male nurse come to check on, and I tell

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him I don’t feel well, nothing happened time goes by I’m not eating so Beckam the C/O would
come in the room saying Shakenah please eat you have to eat something you look dehydrated
and sick please eat the apple, I began to pray harder and then a C/O came which I thought I
was going home and they took me back to the block now I’m slowly losing the headache, and
now I can see clear. I began to ask questions to other inmates on December 4" 2021 now
realizing how much time has gone by I began getting treated by a nurse who cleaned my arm
for the first time she gave me some ointment called A&D the time I was thete I never was
given a cate packet a jump suit to change in a wrist band nor did they have the date on my
paper work on the door all inmates had dates and bands. Comment this very interesting a
conspiracy to act like she never existed in their facility, (THE PRISON). C/O mean
(Correction Officer or Officer(s)

ABUSE OF POWER BY ALL PARTTES

Fact: They being the Prison System never set me up to contact my family which Pve been
asking since the day 1 I arrived, every time I would ask a C/O she would say when the next
C/O come on duty when the next C/O on, and on so I then got called from C/O Phillips to
go set up my PP# and speak to an Attorney on the phone when calling in there was no
response C/O Phillips called someone to inform that I was trying to get thru and when she
hung up she stated they canceled and I said canceled why she said your hearing and took me

back to my cell so now

Fact: I still have not spoken to any of my children nor family since being arrested because they
did not allow me any calls now time goes by now, we are out of out cells for a break and the
C/O walks over and hand me someone else papets I give it back, I finally get to the phone,

and trying to dial and it did not work for 2 days.

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Fact: I informed the C/O and I got no help so an inmate who I knew from the outside began
to help and guide me thru step by step when she got the C/O let me out with her who is
Jazmine Gittins she then gave me knowledge as to who is who, and how they treat the inmates
time passes by now I see another inmate known by me Nafeesah who was also a worker and
we acknowledge each other to be cousins who began helping as well then another Malika and
also lucky those four young ladies helped me through the process till the day I got released.

Foot Note: All of this transpired because of a mother’s concern for her childten that was
unlawfully and unconstitutionally taken from her home, and NOW the mother gets brutalized
unconstitutionally by the same POLICE DEPARTMENT, before the United States talk about
crimes perpetrated by other Countries WE need to take a long look at what is going on here

in Ametica.

CAVEAT
It is truth and fact that these ancient Land belong to the autochthonous aborigine’s heit to
these Lands I queen shakenah holdet in due course of the ESTATE OF JOHNSON, and the
ssn, as we know what it is really all about, as from the history thereof to my observation out
forefathers (Ancestot’s) who welcomed the European immigrant to travel with safe passage
through our lands, for our thanks for doing that, we have been murdered, our woman raped,
and beaten , many tortured, many made homeless homes, many we don’t know what happen
to them, butned down etc. like the Elaine Arkansas Massacre 1919, and the Ocoee Florida
Massacte the test is well documented many unlawfully imprisoned, and it still is happening
almost evetyday day, how on the basis of Commonwealth of Pennsylvania, vs. Justin Irland;
Brief Quote The Commonwealth upon consideration of Plaintiff(s) and additional plaintiff(s)
who ate entitled to the return of their property that was unlawfully taken from them in direct
violation of the Pennsylvania Constitution and the Order entered by the Commonwealth
Court, In case law cited as Commonwealth of Pennsylvania, vs. Justin Irland, The

Commonwealth and its Court never had tight to confiscation authority and that it never came

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with them from across the sea , also religious immunity from (tax, levy, and fees)as cited by
out Supteme Coutt, in Murdock vs. Pennsylvania, cited as case law, 319 U.S. 105, et. seq.
incorporated and made patt of this ORDER”. Certified Order as of January 03, 2020, in
United States District Court, (Quote) violation of the Pennsylvania Constitution Article 1

Section 8. I think we all ate tired of being sick and tired.

RELIEF SOUGHT

Upon the Mental, and physical abuse by the PHILADELPHIA POLICE, and hortible Prison
conditions and disrespectful Prison Guards, and the mental, physical abuse, and the constant
humiliation by the Prison Guards, and the inhuman conditions and treatment such as mice
fighting other mice, Rats in the cells inmates that have been bitten by Rats the food delivered
in unsanitary fashion, giving wrong medication that made me sick, the physical abuse from the
beginning was unprecedented in my eyes, only true relief is Justice, in which I have been
ptaying for. Relief sought, ? in this matter doesn’t have a price but, we must teflect on the lack
of moral compass that is beyond man’s comprehension these ate the signs of a damaged, and
endangeted society of a mentally seduce system that systematically prays on the weak and
disenfranchise those that show a ray of intelligence which in many incidence, thereby by
making this a non-compromising system (a Dictatorship) of in justice when you can abduct
another being brutalize, humiliate, denied them there rights as an Indigenous Peoples, and a

Tribal member of a sovereign nation. I think relief need to be left for the people to decide in

a TRIAL BY JURY!!! that would be the ultimate relief JUSTICE).

CONCLUSION

All patties to be charged in the following: Criminal Conspiracy, and actions of those, of

Human Trafficking, Crimes against humanity, Abuse of Power, Obstruction of Justice,

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Slavery, Miranda Rights, aggravated assault, trespassing against a non-corporate being and
Genocide which are all International Crimes as well as Federal Crimes this is clearly a Criminal
Case and all patties involved to be arrested by the Sheriff Department, Philadelphia Police
Depattment and the Philadelphia Bureau of Prisons, and First Judicial District of
Pennsylvania, a system of injustice that is worse than an APARTHEID SYSTEM, as in
Modern Day Slavety, as a common practice by the Municipalities, which are bordering on
GENOCIDE, if not already there by giving me a a pink pill that is supposed to be Tylenol ,
and then force me to take it or else, all documents and to be confiscated immediately without
delay, and taken into the possession by the United States District Court, Eastern District of

Pennsylvania, and transfer same to whom jurisdiction has been given.

“With sincerity and to all which is respectfully AFFIRMED”

Affirmed and subscribed before this court this eae megs —
: a

Setfter/Granto

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

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